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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                                May 29, 2024


Ms. Stephanie Garlock
Consumer Financial Protection Bureau
1700 G Street, N.W.
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Mr. Justin Michael Sandberg
Consumer Financial Protection Bureau
Office of General Counsel
1700 G Street, N.W.
Washington, DC 20552

      No. 24-10463       In re: Chamber of Commerce
                         USDC No. 4:24-CV-213


Dear Counsel:
This letter will serve to confirm that the court has requested a
response to the Petitioners’ petition for writ of mandamus be filed
in this office on or before June 6, 2024.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Peter A. Conners, Deputy Clerk
                                   504-310-7685
cc:
      Ms. Maria Monaghan
      Mr. Michael F. Murray
      Mr. Thomas Pinder
      Mr. Philip Avery Vickers
